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                                 Case No: 1:23-cv-00811-EGB

    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Larry Golden, Pro Se Plaintiff
740 Woodruff Rd., #1102
Greenville, South Carolina 29607
(P) 864-992-7104 (E) atpg-tech@charter.net


LARRY GOLDEN,
                 Plaintiff,                           Patent Infringement
                     V.

THE UNITED STATES,                                    July 19, 2023
                Defendant.


                          PLAINTIFF’S MOTION TO STRIKE

       Rule 12(f) allows this Court to “strike the Government’s Motion to Dismiss Plaintiff’s
Complaint [Dkt. 10; Filed 07/14/2023]. The Government’s motion is representative of the
“insufficient defense” the Government has force this Court to comply with, through intimidation
and threats; as evidenced in previous litigation, and is found in the Government’s current Motion
to Dismiss.
        This Court may strike the Government’s Motion to Dismiss Plaintiff’s Complaint [Dkt.
10; Filed 07/14/2023] acting on its own initiative or “on Plaintiff’s motion before Plaintiff is
required to respond to the Government’s Motion. Motions to strike under Rule 12(f) are
addressed within the sound discretion of the Court… Ameriwood Indus. Intern. Corp. v. Arthur
Andersen & Co., 961 F. Supp. 1078, 1083 (W.D.Mich.1997) (citing Fed. Sav. & Loan Ins. Corp.
v. Burdette, 696 F. Supp. 1183, 1186 (E.D.Tenn.1988); FDIC v. Butcher, 660 F. Supp. 1274, 1277
(E.D.Tenn.1987); FDIC v. Berry, 659 F. Supp. 1475, 1479 (E.D.Tenn.1987)).
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       Plaintiff’s Motion to Strike should be granted because there is a clear showing that the
challenged defense has no bearing on the subject matter and that permitting the matter to stand
would prejudice [] Plaintiff. Ameriwood, 1078 F. Supp. at 1083.


           ACTING UNDER “DURESS”; FORCE AND INTIMIDATION

       While the Government is making its intimidating challenges to this Court, the
Government has filed a Motion to Dismiss that is confusing to say the least.
       “[I]n the event that the Court does not wish to immediately dismiss this case, the
       Government anticipates moving to stay the current litigation pending the Northern
       District of California’s resolution of the earlier-filed and duplicative lawsuit filed by Mr.
       Golden against Google.” [Case No. 23-811C Dkt. 10 Filed 07/14/23]
       Plaintiff understand the above threatening statement to mean: “If the Court don’t
immediately dismiss this case, the Government will file a motion to stay this case until the
“duplicative” case in the NDC is resolved. Does the Government mean the causes of action both
cases fall under 35 U.S.C. § 271(a) or under 28 U.S.C. § 1498 (a). Because the Government is
also quoted as saying:
       “Golden’s complaint does not plead any plausible theory of how the Government is
       allegedly liable for patent infringement under 28 U.S.C. § 1498, and there is no resolution
       of the Northern District of California case that could cure this fundamental defect in the
       complaint.”


History of the Government’s Intimidation and Threats
       Acting under “Duress”; force and intimidation; the presiding Judge in Golden v. USA
COFC Case No. 13-307C Dkt. 38 Filed 03/31/2014, decided to “stay” Golden’s claim of a
“Government Takings of Property Under the Fifth Amendment Clause of the U.S. Constitution
without paying ‘Just Compensation’”, to allow the Department of Justice (DOJ) and the
Department of Homeland Security (DHS); who are not “persons” authorized to petition the
Patent Trials and Appeals Board (PTAB) to invalidate patent claims (America Invents Act 2012
and Return Mail v. The United States Postal Service), the time needed to petition the PTAB to
institute trial with the three unqualified patents of Astrin, Breed, and Mostov that do not antedate
Golden’s ‘990 patent; submitted by the unauthorized government agencies DOJ & DHS (18
months).



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       “Plaintiff’s November 22, 2013 More Definitive Statement also alleges that “the
       Government has taken the subject matter, scope, technology rationale, devices
       schematics, processes, methods, procedures and systems of what is now Golden’s patents
       . . . for public use without just compensation to the Plaintiff.” Stmt. 46. …
       “[t]he parties will therefore proceed with Plaintiff’s claims only as they relate to the
       alleged patent infringement by the United States.”

       The presiding Judge in Golden v. USA COFC Case No. 13-307C Dkt. 94 Filed
11/30/2016, denied the Government’s Motion to Dismiss Certain Devices, pursuant to RCFC
12(b)(1) and 12(b)(6): “For the reasons discussed herein, the Government’s June 24, 2016
Motion to Dismiss Certain Devices, pursuant to RCFC 12(b)(1) and 12(b)(6), is denied. Plaintiff,
however, is cautioned that the court’s ruling today is based on the standard of review on
sufficiency of the pleading alone and is not to be construed as a ruling on the substantive merits
of the patent infringement claims alleged in the February 12, 2016 Amended Complaint. The
court will convene a telephone status conference in the next few days to discuss a schedule to
move this case towards adjudication.”
       Two days later, while acting under “Duress”; force and intimidation; the presiding Judge
in Golden v. USA COFC Case No. 13-307C, during a 12/02/2016 telephone conference, decided
to allow the Department of Justice (DOJ) and the Department of Homeland Security (DHS)
another chance at dismissing certain devices, pursuant to RCFC 12(b)(1) and 12(b)(6); decided
to waive Golden’s alleged infringement claim against the Department of Justice (DOJ) and the
National Institute of Justice (NIJ); order Golden to do additional jurisdictional discovery without
the resources; and, order Golden to provide the Government with all (est. 5000 pages)
documentation Golden currently has in his possession. The Government was not ordered to
provide Golden with all of their documents. (16 months).
       THE COURT: “-- all I’m saying is under the liberal standards that the Court looks at
       these types of proceedings, I’m going to let you do a little jurisdictional discovery. Now,
       what do you have in mind and what time frame do you have in order to show me that you
       can satisfy the -- I’m going to let the -- the Government is going to be able to redo this
       again. But I’m going to give you a chance to do some jurisdictional discovery on this. So,
       what do you want to do?
       MR. GOLDEN: “When you say redo it again -- THE COURT: “Well, the Government --
       I dismissed their -- I basically did not grant their motion to dismiss now. I’m going to
       give you some leeway to do a little discovery. It may be that they will want to -- after the
       discovery takes place, they want to raise -- re-raise it again in which case I may grant it.”


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       MR. GOLDEN: “[w]hat I found was the original solicitation and that solicitation came
       from the Department of Justice, the National Institute of Justice itself. THE COURT:
       There is no such thing as the National Institute of Justice that I know of.” www.ftrinc.net
       THE COURT: “No, I understand … [w]hat I’d like you to do -- I don’t know how much
       you have by way of documentation on this -- but I would like you to find a copy store and
       make a copy of every document you have and send it to the Government” www.ftrinc.net

       In attendance at the 12/02/2016 telephone conference, and the Government parties
responsible for the intimidation and threats, were Lindsay K. Eastman, John Fargo, and Nicholas
Kim from the U.S. Department of Justice (DOJ); and Joseph Hsiao, Nathan Grebasch, and Trent
Roche from the Department of Homeland Security (DHS).
       Acting under “Duress”; force and intimidation; the presiding Judge in Golden v. USA
COFC Case No. 13-307C, decided NOT to include the third-party prime government contractor
[Qualcomm] for the DHS S&T BAA07-10, Cell-All Ubiquitous Biological and Chemical
Sensing initiative (Released 10/2007). Qualcomm was the prime contractor in the Cell-All
initiative tasked with providing four major components for the assembly of the cell phone
sensing device: 1- a new and improved upon cell phone; 2- sensors for CBRNE detection; 3- the
CPU (chipset, processor, system-on-a-chip); and 4- the wireless cellular modem. The DOJ/DHS
narrowed the case to that of Apple, LG, & Samsung, thereby omitting the sensors developed by
Qualcomm, Synkera, NASA, SeaCoast, and the camera sensors for detecting CBR of Rhevision.
       This is not the first time the DOJ has raised up in support of the illegal activities of
Qualcomm. On May 21, 2019, the U.S. District Court for the NDC issued a 233-page ruling
in Federal Trade Commission v. Qualcomm, concluding that Qualcomm’s licensing business
model of its 4G transmission technologies in mobile devices violates the antitrust laws.
       In its officially titled Statement of Interest, the DOJ heavily criticizes the district court’s
decision. Among other points, the DOJ argues that the “court’s conclusion that Qualcomm acted
anticompetitively is unsupported” and “ignores established antitrust principles.”
       The DOJ’s filing is an unprecedented development in the history of the two agencies
authorized to enforce the antitrust laws. The DOJ has never before filed a motion in an FTC
lawsuit in support of the defendant. The DOJ expressed concerns about the impact on innovation
and national security that an overbroad antitrust remedy would have if the court found
Qualcomm liable.



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       Golden’s alleged anticompetitive behavior claim that Qualcomm is collecting a 5%
running royalty on the price of every alleged infringing smartphone sold, without having a patent
or legal right to do so was never reached in Golden v. USA COFC Case No. 13-307C filed in the
U.S. Court of Federal Claims and in the U.S. District Court for the Northern District of
California in Golden v. Qualcomm. Nor, was it considered in the Ninth Circuit.
       Claim 1 of Plaintiff’s ‘189 patent is illustrated below. The chart demonstrates the number
of times, and types of errors the Judge made while acting under duress; caused by the
intimidation, threats, and lies told to the tribunal in Golden v. USA Case No. 13-307C.


                                                                          Defense Presented by the
                                 CMDC Devices: Specifications,
   Patent #: 9,096,189;                                                     DOJ & DHS in the
                                  Descriptions, Meanings, and
  Independent Claim 1                                                      Related Case Golden v.
                                           Functions
                                                                              US No. 13-307C

                                                                            The DOJ/DHS made the
                                                                           Golden v. US Case No. 13-
                                  Attached as Exhibit A is a list of      307C a case between private
                                  Congress members; Engineers;           parties which places the case
                                      Scientist; Gov’t Agency(s)         outside the COFC jurisdiction
                                representatives; Judges; and others
                                                                           When the DOJ/DHS stated
                                skilled in the art to verify Plaintiff’s the sensors must be “native to
  A communication device       intellectual property subject matter is      the manufacturing of the
   of at least one of a cell               not “Frivolous”.              Apple and Samsung products,
   phone, a smart phone, a                                                   the DOJ/DHS knew they
    desktop, a handheld, a                                                   were demanding proof of
     PDA, a laptop, or a          Following is an example of CMDC          direct infringement under 35
    computer terminal for         Devices that are not limited to any         U.S.C. Sec. 271(a) as a
     monitoring products,         particular brand, model, or type of           predicated to direct
      interconnected to a           equipment: See internal chart         infringement under 28 U.S.C.
          product for                                                      Sec. 1498(a) Zoltek III, that
        communication           HP ZBook Fury 15.6 Inch G8 Mobile          was overturned at the CAFC
 therebetween, comprising:     Workstation PC; Samsung Galaxy Book2
                                 Pro 360 [PC Mode or Tablet Mode];        The DOJ/DHS narrowed the
                                   Asus/Qualcomm Smartphone for           case to that of Apple, LG, &
                               Snapdragon Insiders; LG V60 ThinQ 5G;       Samsung, thereby omitting
                                  Samsung Galaxy S21 Smartphone;            the sensors developed by
                                  Google Pixel 5 Smartphone; Apple        Qualcomm, Synkera, NASA,
                                        iPhone 12 Smartphone                SeaCoast, and the camera
                                                                           sensors for detecting CBR
                                                                               made by Rhevision.




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                                                                               The DOJ & DHS stated
                                                                             “Golden’s patented Central
                               Your smartphone processor, also known        Processing Units (CPUs) was
                                as chipset, is a component that controls     an enlargement of the case.
                               everything going on in your smartphone
                                 and ensures it functions correctly. You    The DOJ & DHS motioned to
                               can compare it to the brain of the human        have the case dismissed
                               body. Every action you perform on your       because they believe the CPU
                                    smartphone goes straight to the           was an enlargement of the
                                 processor. A processor, also known as        case; which means Golden
                                 CPU, consists of multiple cores: Dual,      violated a Court order not to
                                  Quad, Hexa, and Octa core. What do         amend the case. The DOJ &
                                these cores do exactly? Processor cores         DHS lied to the Court.
                                distribute the work that comes in when
                                  you use your phone. One core has a        The DOJ & DHS also stated
                               maximum number of instructions it can        Golden claimed his CPU is a
                               process within a certain amount of time.       sensor located inside the
  at least one of a central                                                  product used for detecting.
 processing unit (CPU) for     A process is an operating system concept
executing and carrying out       and it is the smallest unit of isolation   As stated left of this column,
    the instructions of a        provided by, for example, Windows          the CPU is used for carrying
    computer program, a           operating system (OS). Application           out the operational and
 network processor which         Domain or AppDomain is one of the          functional instructions of the
 is specifically targeted at   most powerful features of the framework.     devices, and that the CPU is
the networking application     AppDomain can be considered as a light-       considered by many as the
   domain, or a front-end       weight process. AppDomain is of great           brains of the devices.
        processor for             advantage for ISP (Internet Service
communication between a             Provider) who hosts hundreds of         No where, did Golden claim
  host computer and other       applications. Because each application      the CPU is used as a sensor
           devices;                can be contained in an application           for CBR detection.
                               domain and a process can contain many
                                            such AppDomains.                 Golden did not enlarge the
                                                                             case with the CPU. Rule 4
                               Sensor Front-End Processors and Sensor       required Golden to identify
                                Devices: These are processors that are      where each element is found
                               designed to handle data from sensors and       in the alleged infringing
                               convert them into usable data for further      products. Golden located
                                  processing. They are optimized for         where the CPU was found,
                                handling low-level sensor data and can      which is not an enlargement.
                                      perform tasks such as signal
                                    conditioning, filtering, and data       Further, if the products do not
                               acquisition. Sensor front-end processors       have CPUs, the products
                                 are commonly used in sensor devices          cannot function correctly.
                               such as smartphones, wearables, and IoT
                                      (Internet of Things) devices.           The case was dismissed
                                                                            because the DOJ & DHS lied
                                                                                    to the Court.




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                                                                                The Federal Circuit
     a transmitter for                                                      in FastShip, LLC v. U.S.,
                               Golden’s Communicating, Monitoring,
 transmitting signals and                                                        “[W]e interpret
                                Detecting, and Controlling (CMDC)
messages to at least one of                                               “manufactured” in § 1498 []
                              devices are referred to as communication
 plurality product groups                                                     such that a product is
                              devices, monitoring devices, monitoring
based on the categories of                                                 “manufactured” when it is
                                 equipment, multi-sensor detection
 a multi-sensor detection                                                     made to include each
                               devices, cell phone detection devices,
 device, a maritime cargo                                                     limitation of the thing
                                smartphones, and new and improved
  container, a cell phone                                                   invented and is therefore
                                 upon cell phones, laptops, tablets,
   detection device, or a                                                 suitable for use. Without the
                                          desktop PCs, etc.
      locking device;                                                       sensors the products will
                                                                            never be suitable for use.


  a receiver for receiving                                                The DOJ & DHS made sure
                               Golden’s Communicating, Monitoring,
signals, data or messages                                                  the sensors and detectors
                                Detecting, and Controlling (CMDC)
    from at least one of                                                   required to have product
                              devices are referred to as communication
 plurality product groups                                                   “suitable for use” never
                              devices, monitoring devices, monitoring
based on the categories of                                                 happen. The DOJ & DHS
                                 equipment, multi-sensor detection
 a multi-sensor detection                                                   blocked the sensors and
                               devices, cell phone detection devices,
 device, a maritime cargo                                                   detectors of Qualcomm,
                                smartphones, and new and improved
  container, a cell phone                                                 NASA, Synkera, SeaCoast,
                                 upon cell phones, laptops, tablets,
   detection device, or a                                                 Rhevision, Apple, Samsung,
                                          desktop PCs, etc.
      locking device;                                                               and LG.


                               Internet of Things (IoT) and Internet of   The DOJ & DHS chose not to
                                     Everything (IoE) are emerging           challenge this limitation,
                                   communication concepts that will         because a challenge would
                                    interconnect a variety of devices     verify the internet, Bluetooth,
   at least one satellite
                                     (including smartphones, home          and RF connections makes
 connection, Bluetooth
                                appliances, sensors, and other network    the smartphones “capable of”
    connection, WiFi
                              devices), people, data, and processes and      integrating detectors and
  connection, internet
                                allow them to communicate with each             sensors remote the
    connection, radio
                                other seamlessly. These new concepts               smartphone.
      frequency (RF)
                                  can be applied in many application
   connection, cellular
                                       domains such as healthcare,         The DOJ & DHS decided to
 connection, broadband                                                     challenge the term “capable
                                    transportation, and supply chain
  connection, long and                                                          of” without a claim
                               management (SCM), to name a few, and
    short-range radio
                               allow users to get real-time information   construction hearing because
      frequency (RF)
                               such as location-based services, disease   21 of the 25 patent claims that
   connection, or GPS
                                     management, and tracking. The         the USPTO issued with the
        connection;                                                          presumption of validity”
                               smartphone-enabling technologies such
                                 as built-in sensors, Bluetooth, radio-    in the related Golden v. US
                              frequency identification (RFID) tracking,       case no. 13-307C, has
                                and near-field communications (NFC)              “capable of” in it.




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                                                                                  Golden made multiple
                                The DHS Cell-All initiative: “biological       repeated attempts to inform
                                    and chemical sensors could be []             the DOJ & DHS that the
the communication device
                                   integrated into common cell phone             sensors, according to the
is at least a fixed, portable
                                devices” … “miniaturized biological and        DHS Cell-All initiative, can
or mobile communication
                                 chemical sensing with integration into         be located both inside and
device interconnected to a
                                    common.” “[] second-generation                  outside the phones.
 fixed, portable or mobile
                                   prototypes, chemical sensors were
 product, capable of wired                                                       When Golden identified
                                  separated from the phones, allowing
         or wireless                                                           sensors both inside (camera
                                deployment of the sensors through third-
       communication                                                              sensor) the phone, and
                                party products, [] that could be added to
    therebetween; and,                                                        outside (NODE+) the phone,
                                  existing phones (U.S. Department of
                                       Homeland Security, 2011a)                 the DOJ & DHS did not
                                                                                    accept the devices.


                                    28 U.S. Code § 1498(a): “For the
                                    purposes of this section, the use or       Apple and NASA are two of
                                manufacture of an invention described in      the third-party contractors in
                                  and covered by a patent of the United       the related Golden v. US case
                                States by a contractor, a subcontractor, or     no. 13-307C for the DHS
                                 any person, firm, or corporation for the           Cell-All initiative.
                                 Government and with the authorization
                                or consent of the Government, shall be []      NASA’s contribution to the
                                    use or manufacture for the United           development of the “cell
                                                 States.”                      phone sensing device” was
       whereupon the
                                                                              not accepted or considered by
communication device, is
                                The NODE+ was invented and produced                 the DOJ & DHS.
    interconnected to a
                                in 2011 by George Yu, Ph.D. Yu worked
    product equipped to
                                as a subcontractor to NASA on the DHS          The DOJ & DHS pled that
  receive signals from or
                                Cell-All initiative. The NODE+ sensor is      “to include the NODE+ is an
  send signals to lock or
                                 an interactive scanner that uses … data        enlargement of the case;
unlock doors, activate or
                                from NASA to give information [] using          which is a violation of the
     deactivate security
                                sensors on your phone NODE+ wireless          Court’s order not to amend.”
    systems, activate or
                                sensor platform is a handheld sensor that
 deactivate multi-sensor
                                    communicates wirelessly through            The DOJ & DHS created the
 detection systems, or to
                                   Bluetooth with Apple iOS devices.           substantive right for Golden
activate or deactivate cell
                                                                              to receive “just Compensation
 phone detection systems        The Tucker Act, is merely a jurisdictional       for the taking of Golden’s
                                    statute and “does not create any              property under the Fifth
                                substantive right enforceable against the       Amendment Clause of the
                                  United States for money damages.”            U.S. Constitution when they
                                  United States v. Testan. Instead, the           violated 28 U.S. Code §
                                substantive right must appear in another      1498(a): “a money-mandating
                                  source of law; a “money-mandating            constitutional provision” and
                                   constitutional provision, statute or        the “statute or regulation” of
                                  regulation that has been violated…”                  the provision.
                                 Loveladies Harbor, Inc. v United States




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                                                                              After the Department of
                                                                             Homeland Security (DHS)
                                       Patent Specifications:
                                                                           received information from the
                               It is another objective of the present
                                                                                then President, Vice-
                                invention to provide a multi sensor
                                                                           President, three U.S. Senators
                                 detection [] system for preventing
                                                                            from South Carolina, a DHS
                                terrorist activity by using products
                                                                            SBIR Program Manager, and
                            grouped together by common features in
                                                                             a DHS Contracting Officer
                            several product groupings such as design
                                                                           for the SafeCon initiative, the
                             similarity, similarity in the presentation
                                                                              DHS in 2007 released the
                             of security problems and similarity with
                                                                                 DHS S&T Cell-All
                            regard to the presentation of solutions to
                                                                             Ubiquitous Biological and
                                       preventing terrorist…
                                                                           Chemical Sensing solicitation
                            Still yet a further objective of the present    for a cell phone “capable of”
                              invention is to provide a multi sensor       detecting for CBR agents and
                                  detection [] system that can be                    compounds.
                            implemented by business or government
                                                                              Using Golden’s Product
                              at a minimum cost by organizing the
                                                                           Grouping strategies, the DHS
                                   products to be protected into
                                                                            contracted Apple, Samsung,
       wherein the                 product grouping categories.
                                                                             LG, Qualcomm, Synkera,
 communication device                                                         NASA, Rhevision, and
                            Product grouping 2 (sensors) include, but
receives a signal via any                                                      SeaCoast to assemble
                             are not limited to, chemical, biological,
of one or more products                                                    Golden’s CMDC device in a
                               radiological, explosive and nuclear
   listed in any of the                                                    way that will group products
                             detectors, motion sensors, door sensors,
   plurality of product                                                    together by common features
                               [] biometric sensors, [] detection of
  grouping categories;                                                        and design similarities.
                                            humans…
                                Product grouping 4 (monitoring &               The DOJ & DHS has
                             communication devices) include, but are       continually retaliated against
                              not limited to, mobile communication          Golden for 10 years (2013-
                              devices, mobile communication units,         2023) for filing a claim in the
                               portable communication devices, []             United States Court of
                              monitoring sites, monitoring terminals,         Federal Claims for just
                            web servers, desktop PCs, notebook PCs,               compensation.
                            laptops, satellite cell phones, cell phones,
                                                                           It is the belief of Golden that
                                   [] PDAs, [] and [] handhelds
                                                                             the Trial Court Judge was
                             Product grouping 7 (authorized person)        acting under Duress (threats,
                              include, but are not limited to, owner,       intimidation, or some other
                                pilot, conductor, captain, [] airport       type of coercion) to comply
                            security, police, highway patrol, security     with the lies the DOJ & DHS
                              guard, military personnel, HAZMAT,             has put before this Court.
                             CIA, FBI, Secret Service, port security
                                                                           The reason Golden is asking
                            personnel, border security personnel, first
                                                                             the Judge to transfer the
                                responders, [] terminal personnel.
                                                                           current case, is because it is a
                                                                              little more complicated.




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                                Internet of Things (IoT) and Internet of
                                      Everything (IoE) are emerging         The DOJ & DHS chose not to
    wherein at least one                                                       challenge this limitation,
                                    communication concepts that will
    satellite connection,                                                     because a challenge would
                                     interconnect a variety of devices
  Bluetooth connection,                                                     verify the internet, Bluetooth,
                                      (including smartphones, home
 WiFi connection, internet                                                   and RF connections makes
                                 appliances, sensors, and other network
      connection, radio
                               devices), people, data, and processes and    the smartphones “capable of”
       frequency (RF)                                                          integrating detectors and
                                 allow them to communicate with each
    connection, cellular                                                          sensors remote the
                                 other seamlessly. These new concepts
  connection, broadband                                                              smartphone.
                                   can be applied in many application
connection… short range
                                        domains such as healthcare,          The DOJ & DHS decided to
   radio frequency (RF)
                                     transportation, and supply chain        challenge the term “capable
 connection is capable of
                                management (SCM), to name a few, and              of” without a claim
  signal communication
                                allow users to get real-time information    construction hearing because
 with the transmitter and
                                such as location-based services, disease    21 of the 25 patent claims that
     the receiver of the
                                      management, and tracking. The          the USPTO issued with the
communication device and
                                smartphone-enabling technologies such          presumption of validity”
     transceivers of the
                                  as built-in sensors, Bluetooth, radio-     Golden asserted in the case
          products;
                               frequency identification (RFID) tracking,        has “capable of” in it.
                                 and near-field communications (NFC)

                                          Patent specifications:              Golden has two disabling
                               “FIG. 1 is a perspective view of the… an         locking mechanism that
                               automatic/mechanical lock disabler and a       follows the same patterns:
                                     fingerprint biometric lock with          detection; lock; reset. The
                                 disabler… FIG. 14 is a representative         first is when a hazardous
          wherein the           schematic view of the… lock disabling       substance is detected it sends
  communication device is            system of the present invention          a signal to lock the device.
 equipped with a biometric        illustrating interconnection of the…          The second is when and
       lock disabler that       fingerprint biometric lock with disabler          unauthorized attempt
incorporates at least one of        for engaging and disengaging the         (fingerprint, facial, code) to
 a fingerprint recognition,           fingerprint biometric lock …          unlock the device, a signal is
    voice recognition, face                                                      sent to lock the device.
       recognition, hand           The fingerprint biometric lock with
 geometry, retina scan, iris    disabler 62 is interconnected to the cpu          The first pattern was
   scan and signature such           40… Moreover, resetting of the           identified in claim 1 of the
   that the communication       fingerprint biometric lock with disabler     ‘497 patent and claim 10 of
 device that is at least one      62 occurs when the fingerprint of the      the ‘752 patent. The second
     of the cell phone, the      individual is placed on the fingerprint-   pattern was identified in 11 of
 smart phone, the desktop,      matching pad 64, and if a match occurs          the remaining 23 patent
   the handheld, the PDA,        with a known fingerprint stored by the      claims. 12 of the patent did
the laptop or the computer     cpu 40, then the individual can reset the          not call for a locking
  terminal is locked by the     fingerprint biometric lock with disabler               mechanism.
 biometric lock disabler to      56… a fingerprint that matches stored
 prevent unauthorized use;       and authorized fingerprints 102 would       The DOJ & DHS repeatedly
                               indicate an authorized individual … The      stated in signed pleadings that
                                fingerprint biometric lock with disabler      Golden did not identify the
                                  62 would then be reset 106 after the       locking mechanism. That lie
                                   appropriate safety… and protection            caused the case to be
                                       measures are completed…                         dismissed.

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                               Internet of Things (IoT) and Internet
                                  of Everything (IoE) are emerging      The DOJ & DHS chose not to
                                  communication concepts that will         challenge this limitation,
                                   interconnect a variety of devices      because a challenge would
  wherein the only type or           (including smartphones, home       verify the internet, Bluetooth,
  types of communication             appliances, sensors, and other      and RF connections makes
   with the transmitter and     network devices), people, data, and     the smartphones “capable of”
      the receiver of the              processes and allow them to         integrating detectors and
 communication device and             communicate with each other             sensors remote the
      transceivers of the       seamlessly. These new concepts can               smartphone.
 products is a type or types        be applied in many application
   selected from the group             domains such as healthcare,       The DOJ & DHS decided to
    consisting of satellite,       transportation, and supply chain      challenge the term “capable
  Bluetooth, WiFi, internet,    management (SCM), to name a few,              of” without a claim
    radio frequency (RF),           and allow users to get real-time    construction hearing because
  cellular, broadband, and       information such as location-based     21 of the 25 patent claims that
 long and short-range radio      services, disease management, and       the USPTO issued with the
        frequency (RF).          tracking. The smartphone-enabling       presumption of validity” in
                               technologies such as built-in sensors,   the related Golden v. US case
                                       Bluetooth, radio-frequency       no. 13-307C, has “capable of”
                                 identification (RFID) tracking, and                 in it.
                                  near-field communications (NFC)



       The DOJ & DHS Department attorneys are subject to various legal obligations and
professional standards in the performance of their duties. For example, attorneys are required to
comply with legal obligations imposed by the Constitution, statute, evidentiary or procedural
rules, controlling case law, and local rules. In addition, the DOJ & DHS attorneys must comply
with standards of conduct imposed by the attorney’s licensing authority, the jurisdiction in which
the attorney is practicing, and Department regulations and policies.
       The DOJ & DHS are guilty of intimidating the Judge(s) if the DOJ & DHS directs a
threat to the Judge(s) that causes the Judge(s), while acting under duress, to rule in the
Defendants favor, or if by use of threats directed to the Judge(s), the DOJ & DHS attempts to
influence a ruling or decision of the Judge(s) in any official proceeding.
       The Federal Judiciary Protection Act, S. 1099, increases the criminal penalties for []
threatening Federal judges, Federal law enforcement officials, and their family members.
       Specifically, the bipartisan legislation would: increase the maximum prison term for
forcible [] intimidation or interference with a Federal judge, Federal law enforcement officer or
U.S. official from 3 years imprisonment to 8 years…

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Grant J. Johnson (DOJ Trial Attorney assigned to Represent the DOD DTRA)
       The qualifications to become a Patent Examiner are: Minimum of a Bachelor’s degree in
engineering or science. Successful completion of a full 4-year course at an accredited college or
university leading to a bachelor’s degree, or higher, that included a major field of study, or
specific course requirements, in a variety of engineering and science disciplines.
       Patent Examiner: United States Patent and Trademark Office (USPTO) Jun 2007 thru
May 2012 - 5 yrs.
       Associate: Covington & Burling LLP. Sep 2013 thru Aug 2020 - 7 yrs. Washington D.C.
Metro Area Grant Johnson worked as an associate in the firm’s Washington, DC office and
served as a member of the Patent Litigation and Patent Advisory groups. His practice focuses on
patent litigation, patent prosecution, and post-issuance proceedings in the U.S. Patent &
Trademark Office; ...
       Therefore, let us say for the sake of argument Mr. Johnson has the 4-year college degree
in engineering or science; has 5 years’ experience as a USPTO patent examiner; and, at least 7
years of patent litigation experience with Covington & Burling LLP, that Mr. Johnson knows, or
should have known, of the blatantly obvious, unconcealed, and deliberate lies he has made and
continues to make to this Court concerning the functionality of Golden’s inventions.
       Mr. Johnson’s violations are intentional because he engaged in conduct that was both
purposeful and knowing. Conduct is purposeful when the attorney takes or fails to take an action
in order to obtain a result that is unambiguously prohibited by the applicable obligation or
standard. Conduct is knowing when the attorney takes or fails to take an action with knowledge
of the natural or probable consequences of the conduct, and those consequences are
unambiguously prohibited by the applicable obligation or standard.
       After this Court considers the nature and circumstances of the Mr. Johnson’s conduct and
the facts known to Mr. Johnson, the Court should find that Mr. Johnson’s disregard of his
obligation or standard is reckless because the conduct amounted to a gross deviation from the
standard of conduct that an objectively reasonable attorney would observe in the same situation.
       Mr. Johnson’s excuse of “Oh, I didn’t mean to do it, I just did not know” is completely
unacceptable. The Government’s Motion to Dismiss should be “stricken” because the motion is
representative of an “insufficient defense”.



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      THE GOVERNMENT’S MOTION IS REPRESENTATIVE OF AN
                 “INSUFFICIENT DEFENSE”

        The Tactical Assault Kit (TAK)—a mapping system with a plugin architecture—has seen
success across the Department of Defense (DoD) and Department of Homeland Security (DHS),
where operators must routinely execute missions in spectrum denied environments.
[nonincidental use by the Government]
       The Defense Threat Reduction Agency (DTRA) leveraged TAK for enhanced CBRNE
situational awareness with the goal of protecting military and civilian populations from
intentional or incidental chemical or biological threats and Toxic Industrial Chemicals/Materials
(TIC/TIM) hazards. [the TAK was made to include each limitation of Golden’s invention]
       In FastShip, LLC v. United States, 892 F.3d 1298 (Fed. Cir. 2018)) “[T]he Court of
       Federal Claims construed the relevant claim terms and granted the government partial
       summary judgment, finding that the LCS-3 ship was not “manufactured” by or for the
       government within the meaning of Section 1498” … The Federal Circuit affirmed and
       determined that the meaning of “manufactured” in Section 1498 was a matter of first
       impression. The Federal Circuit interpreted “manufactured” under its plain meaning,
       holding that “a product is ‘manufactured’ when it is made to include each limitation of
       the thing invented and is therefore suitable for use.”

       Under a Broad Agency Announcement from the Joint Science and Technology Office
(JSTO) Digital Battlespace Management Division, DTRA fund the development of ATAK,
WinTAK, and WebTAK compatible versions of existing decision support tools for chemical and
biological warning and reporting, hazard prediction, and consequence assessment, which caused
the development of iTAK. [the iTAK, ATAK, and WinTAK was developed in accordance to
Golden’s “product grouping” strategies to enable the integration of hardware and software]
       Golden’s Patent Specifications: “It is another objective of the present invention to provide
       a multi sensor detection [] system for preventing terrorist activity by using products
       grouped together by common features in several product groupings such as design
       similarity, similarity in the presentation of security problems and similarity with regard to
       the presentation of solutions to preventing terrorist… Still yet a further objective of the
       present invention is to provide a multi sensor detection [] system that can be implemented
       by business or government at a minimum cost by organizing the products to be protected
       into product grouping categories… Product grouping 2 (sensors) include, but are not
       limited to, chemical, biological, radiological, explosive and nuclear detectors, motion
       sensors, door sensors, [] biometric sensors, [] detection of humans… Product grouping 4
       (monitoring & communication devices) include, but are not limited to, mobile
       communication devices, mobile communication units, portable communication devices,
       [] monitoring sites, monitoring terminals, web servers, desktop PCs, notebook PCs,

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       laptops, satellite cell phones, cell phones, [] PDAs, [] and [] handhelds …
       Product grouping 7 (authorized person) include, but are not limited to, owner, pilot,
       conductor, captain, [] airport security, police, highway patrol, security guard, military
       personnel, HAZMAT, CIA, FBI, Secret Service, port security personnel, border security
       personnel, first responders, [] terminal personnel.

iTAK
       The iPhone is a line of smartphones produced by Apple Inc. that use Apple’s
own iOS mobile operating system. The first-generation iPhone was announced by then-Apple
CEO Steve Jobs on January 9, 2007. Since then, Apple has annually released new iPhone
models and iOS updates. As of November 1, 2018, more than 2.2 billion iPhones had been sold.
       iOS (formerly iPhone OS) is a mobile operating system developed by Apple Inc.
exclusively for its hardware. It is the operating system that powers the company’s mobile
devices.
       iTAK was specifically designed for Apple smartphones. The iTAK is a software
component that adds a specific feature to an existing program. When the iTAK supports CBRNE
plug-ins, it enables customization. It enables third-party developers [Draper Laboratories] to
extend the application with CBRNE plugins.
       The “product grouping” strategy for ubiquitous iTAK CBRNE sensing is limited to the
111 Apple smartphone models that are covered under the Apple brand. (gsmarena.com)


ATAK
       Android is a mobile operating system based on a modified version of the Linux
kernel and other open-source software, designed primarily for mobile devices as smartphones.
Android is developed by a consortium of developers known as the Open Handset Alliance,
though its most widely used version is primarily developed by Google. It was unveiled in
November 2007, with the first commercial Android device, the HTC Dream, being launched in
September 2008. At its core, the operating system is known as Android Open-Source Project
(AOSP) and is free and open-source software (FOSS). Over 70 percent of smartphones based on
Android Open-Source Project run Google’s ecosystem (which is known simply as Android)
       ATAK was specifically designed for Android smartphones. The ATAK is a software
component that adds a specific feature to an existing program. When the ATAK supports CBRNE



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plug-ins, it enables customization. It enables third-party developers [Draper Laboratories] to
extend the application with CBRNE plugins.
       The “product grouping” strategy for ubiquitous ATAK CBRNE sensing include nearly
1,300 brands that have produced over 24,000 distinct Android devices (android.com). The
Samsung brand has 1,361 devices; the Google brand has 24 devices; the LG brand has 667
devices; and the Asus/Qualcomm brand has 200 devices (gsmarena.com/makers.php3)


WinTAK
       Microsoft’s Windows has always dominated the desktop PC, laptop, and tablet operating
system (OS) space globally, as the operating system is widely available with many PC
manufacturing partners such as Dell, HP, and Samsung. Microsoft Windows was the dominant
desktop operating system (OS) worldwide as of January 2023, with a share of just over 74%.
           WinTAK was specifically designed for desktop PCs, laptops, and tablets that use the
Windows operating system. The WinTAK is a software component that adds a specific feature to
an existing program. When the WinTAK supports CBRNE plug-ins, it enables customization. It
enables third-party developers [Draper Laboratories] to extend the application with CBRNE
plugins.
       The “product grouping” strategy for ubiquitous WinTAK CBRNE sensing: Microsoft
backed away from their goal of one billion Windows 10 devices in three years (or “by the middle
of 2018”) and reported on 26 September 2016 that Windows 10 was running on over 400 million
devices, and in March 2019 on more than 800 million.


DTRA’s Purpose
       DTRA’s purpose for developing the iTAK, ATAK, and WinTAK is the same as Golden’s
purpose for inventing certain devices for “product grouping”. That is to have a mean(s) for
ubiquitous CBRNE sensing.
       The following chart illustrates how the DTRA harnessed [product grouped] Golden’s
patented CMDC Devices, CPUs, and Multi Sensor Detection Devices to satisfy the utility
requirement needed for the iTAK, ATAK, and WinTAK. Without Golden’s patented CMDC
Devices, CPUs, and MSD devices, the iTAK, ATAK, and WinTAK software is useless; the iTAK,
ATAK, and WinTAK OSs were not designed to operate without Golden’s patented inventions.


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           DEPARTMENT OF DEFENSE (DOD) DEFENSE
             THREAT REDUCTION AGENCY (DTRA)

 iTAK                                         ATAK                                                  WinTAK
                                                                            Asus /
                                                                          Qualcomm         Samsung Galaxy      HP ZBook Fury
Apple iPhone                          Samsung
                    Google Pixel 5                        LG V60         Smartphone         Book2 Pro 360       15.6 Inch G8
     12                              Galaxy S21
                     Smartphone                          ThinQ 5G            for             [PC Mode or           Mobile
Smartphone                           Smartphone
                                                                         Snapdragon         Tablet Mode]       Workstation PC
                                                                           Insiders




   Chipset:
  Apple A14            Chipset:         Chipset:          Chipset:          Chipset:          CPU: Intel®
                                                                                                                  CPU: 11th
Bionic (5 nm).       Qualcomm          Qualcomm          Qualcomm          Qualcomm        Core™ i5-1235U /
                                                                                                               Generation Intel®
    CPU:             Snapdragon      SM8350 CPU:       SM8250 CPU:       SM8350 CPU:         Intel® Core™
                                                                                                                  Xeon® W-
  Hexacore           765G CPU:          Octa-core         Octa-core         Octa-core           i71255U.
                                                                                                                11955M vPro®
    (2x3.1          Octa-core (1 ×    (1x2.84 GHz       (1x2.84 GHz       (1x2.84 GHz       Processor Speed
                                                                                                               with Intel® UHD
GHz Firestorm       2.4 GHz Kryo      Cortex-X1 &      Cortex-A77 &       Cortex-X1 &           1.3GHz /
                                                                                                                   Graphics
 + 4x1.8 GHz          475 Prime        3x2.42 GHz        3x2.42 GHz        3x2.42 GHz           1.7 GHz.
  Icestorm).


OS: Apple iOS        OS: Google       OS: Google        OS: Google
                                                                                            OS: Preinstalled   OS: Preinstalled
    14.1,            Android 11,      Android 11,       Android 10,       OS: Google
                                                                                              Microsoft           Microsoft
upgradable to       upgradable to    upgradable to     upgradable to      Android 11
                                                                                             Windows 11        Windows 11 Pro2
  iOS 16.1           Android 13       Android 13        Android 13

  CBRNE               CBRNE             CBRNE             CBRNE             CBRNE              CBRNE              CBRNE
 PLUGINS             PLUGINS           PLUGINS           PLUGINS           PLUGINS            PLUGINS            PLUGINS
   Draper              Draper            Draper            Draper            Draper        Draper Laboratory, Draper Laboratory,
Laboratory, Inc    Laboratory, Inc   Laboratory, Inc   Laboratory, Inc   Laboratory, Inc          Inc                Inc


                  28 U.S. Code § 1498 (a): “Whenever an invention described in and covered by a patent of
      the United States is used [in the above chart Golden have three inventions that are covered by his
      U.S. Patents—CMDC Devices; CPUs; and Multi Sensor Detection Devices—that’s being “used”
      by the United States] … by or for the United States without license of the owner thereof or
      lawful right to use or manufacture the same, the owner’s remedy shall be by action against the

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United States in the United States Court of Federal Claims for the recovery of his reasonable and
entire compensation for such use and manufacture.”
       Therefore, until the Government can prove the iTAK, the ATAK, and the WinTAK; that
are interconnected to Golden’s patented CMDC Devices, CPUs, and Multi Sensor Detection
Devices, can operate and function without the three essential patented inventions of Golden; the
United States have “used”, and continues to “use” Golden’s patented inventions “without license
of the owner thereof or lawful right…” iTAK was developed for the Apple iOS operating
systems; ATAK was developed for the Google Android operating systems; and WinTAK was
developed for the Microsoft Windows operating systems.


                               VERTICAL STARE DECISIS

       The United States Court of Appeals for the Federal Circuit is a federal court that has
special importance in patent law. The Federal Circuit does not have jurisdiction over a particular
region. Instead, it has jurisdiction over all appeals in cases that “arise under” the patent
laws. The Federal Circuit’s jurisdiction over appeals in patent cases is exclusive. Other circuit
courts cannot review decisions in those cases.
       Congress created the Federal Circuit in 1982 to be a court with specialized expertise in
patent law. In giving it exclusive jurisdiction over patent cases, Congress aimed to ensure that
the interpretation of the patent laws, and applicable legal precedent, would be uniform
throughout the nation, and not vary among regional circuits.
        Consistent with that, the Federal Circuit has developed a large body of precedent
governing patent cases: how to interpret patent claims, how infringement must be proved, how
invalidity must be established, and how damages must be calculated. Successful patent litigation
in the district courts requires diligently the following of the Federal Circuit’s pronouncements on
those issues.
       Vertical stare decisis binds lower courts to follow strictly the decisions of higher courts
within the same jurisdiction (e.g., the U.S. Court of Federal Claims must follow the decisions of
the U.S. Court of Appeals for the Federal Circuit). The Supreme Court defines vertical stare
decisis as the doctrine, “a lower court must strictly follow the decision(s) handed down by a
higher court within the same jurisdiction”.


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       A court engages in vertical stare decisis when it applies precedent from a higher court.
For example, if the U.S. Court of Federal Claims adhered to a previous ruling from the U.S.
Court of Appeals for the Federal Circuit, that would be vertical stare decisis.
       The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
— “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back to the
District Court “to be filed and request service of process”. The Federal Circuit determined the
complaint, “includes a detailed claim chart mapping features of an accused product, the Google
Pixel 5 Smartphone, to independent claims from U.S. Patent Nos. 10,163,287, 9,589,439, and
9,069,189” … “in a relatively straightforward manner” … and that the [Circuit] “express no
opinion as to the adequacy of the complaint or claim chart except that it is not facially frivolous.”
       Three-Judge Panel: “DISCUSSION. ‘Under the pleading standards set forth in Bell
       Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
       (2009), a court must dismiss a complaint if it fails to allege “enough facts to state a claim
       to relief that is plausible on its face.” Twombly, 550 U.S. at 570 … [T]his standard
       “requires more than labels and conclusions, and a formulaic recitation of the elements of
       a cause of action will not do.” Id. at 555 (citation omitted). A plaintiff must allege facts
       that give rise to “more than a sheer possibility that a defendant has acted unlawfully.”
       Iqbal, 556 U.S. at 678 (citation omitted) … this court has explained that a plaintiff …
       must plead “‘enough fact[s] to raise a reasonable expectation that discovery will reveal’
       that the defendant is liable for the misconduct alleged.”

       “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
       product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
       limitations to infringing product features, and it does so in a relatively straightforward
       manner …[W]e conclude that the district court’s decision in the Google case is not
       correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
       has made efforts to identify exactly how the accused products meet the limitations of his
       claims in this chart.…”

       For an infringement analysis & litigation, claim charts help confirm or dis-confirm that
each and every limitation of the claim is present in a product, service, or standard. An Evidence-


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of-Use (EoU) or Infringement Chart shows how a product or process accused of infringement
contains each claim element to satisfy the ‘all elements test’ for infringement.
       Below, Plaintiff displays the claim limitations of claim 5 of the ‘287 patent; claim 5 of
the ‘287 patent; and claim 5 of the ‘287 patent; to the Google Pixel 5 smartphone elements for
chemical, biological, radiological, and nuclear (CBRN) sensing. The chart below represents a
scaled down version of the claim chart presented in the U.S. Court of Appeals for the Federal
Circuit in Larry Golden v. Google LLC; Case No. 22-1267, that identifies the elements of the
Smartphone and satisfies the patent claims requirement for CBRN sensing.
       Vertical Stare Decisis bars the Government from challenging, and this Court from
overturning, the Federal Circuit’s ruling: “the complaint includes a detailed claim chart mapping
features of an accused product, the Google Pixel 5 Smartphone, to independent claims from U.S.
Patent Nos. 10,163,287, 9,589,439, and 9,069,189” … ‘in a relatively straightforward manner’”
       Which means the Federal Circuit has determined Golden has alleged “enough facts to
state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570 … plead “‘enough
fact[s] to raise a reasonable expectation that discovery will reveal’ that the defendant is liable for
the misconduct alleged”.
       The Federal Circuit’s language, “a detailed claim chart mapping features of an accused
product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189”, indicates a determination has been made on direct
infringement, either literally or under the doctrine of equivalents.
       Therefore, when the Federal Circuit states, ““express no opinion as to the adequacy [the
state or quality of being adequate] of the complaint or claim chart except that it is not facially
frivolous”, means the Circuit is not expressing an opinion on whether the direct infringement is
literal direct infringement or direct infringement under the doctrine of equivalents.
       “Literal infringement” means that each and every element recited in a claim has identical
correspondence in the allegedly infringing device or process. “Under the doctrine of equivalents,
‘a product or process that does not literally infringe . . . the express terms of a patent claim may
nonetheless be found to infringe if there is ‘equivalence’ between the elements of the accused
product or process and the claimed elements of the patented invention.’” Ethicon Endo-Surgery,
Inc. v. U.S. Surgical Corp., 149 F.3d 1309, 1315 (Fed. Cir. 1998)



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     Google Pixel 5             Patent #: 10,163,287;             Patent #: 9,589,439;        Patent #: 9,096,189;
      Smartphone                Independent Claim 5              Independent Claim 23        Independent Claim 1

                                                                                            A communication device
                                                                                             of at least one of a cell
                                                                                            phone, a smart phone, a
                                                                                             desktop, a handheld, a
                                                                                              PDA, a laptop, or a
                                 A monitoring device,        A cell phone comprising:        computer terminal for
                                    comprising:                                               monitoring products,
                                                                                               interconnected to a
                                                                                                    product for
                                                                                                 communication
                                                                                                  therebetween,
                                                                                                   comprising:


Android Team Awareness
 Kit, ATAK (built on the
    Android operating
                                                                                               the communication
system) provides a single
                                                             the cell phone is at least a    device is at least a fixed,
interface for viewing and
                                                              fixed, portable or mobile         portable or mobile
   controlling different        at least one sensor for
                                                               communication device           communication device
      CBRN-sensing             chemical, biological, or
                                                             interconnected to the cell     interconnected to a fixed,
  technologies, whether          human detection in
                                                               phone detection device,          portable or mobile
    that is a wearable         communication with the
                                                                 capable of wired or        product, capable of wired
smartwatch that measures           at least one CPU;
                                                              wireless communication                or wireless
a warfighter’s vitals (e.g.,
                                                                 therebetween; and               communication
  heart rate) or a device
                                                                                                 therebetween…
  mounted on a drone to
 detect chemical warfare
          agents.


Android Team Awareness
 Kit, ATAK (built on the
    Android operating
   system) is a digital
 application available to
                                                             at least one of a chemical
 warfighters throughout         one or more detectors in                                           wherein the
                                                                 sensor, a biological
 the DoD. ATAK offers           communication with the                                       communication device
                                                                sensor, an explosive
  warfighters geospatial          at least one CPU for                                      receives a signal via any
                                                             sensor, a human sensor, a
 mapping for situational        detecting at least one of                                   of one or more products
                                                              contraband sensor, or a
awareness during combat          chemical, biological,                                         listed in any of the
                                                                 radiological sensor
— on an end-user device        radiological, or explosive                                      plurality of product
                                                             capable of being disposed
such as a smartphone or a                agents;                                              grouping categories;
                                                                 within, on, upon or
  tablet. With DTRA’s
                                                              adjacent the cell phone;
contribution, ATAK now
    includes chemical,
 biological, radiological,
  and nuclear (CBRN)
         plug-ins.




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                                  at least one of a                                         a transmitter for
                                  transmitter or a                                     transmitting signals and
                                   transceiver in                                      messages to at least one
                             communication with the                                       of plurality product
Google Nest × Yale Lock
                                 at least one CPU                                         groups based on the
 is connected to the Nest
                                configured to send                                       categories of a multi-
   app; you can lock or
                            signals to monitor at least                               sensor detection device, a
  unlock your door from
                             one of a door, a vehicle,                                maritime cargo container,
       your phone.                                              a transmitter for
                                or a building, send                                     a cell phone detection
                                                           transmitting signals and
                             signals to lock or unlock                                    device, or a locking
Android Team Awareness                                     messages to a cell phone
                               doors, send signals to                                            device;
 Kit, ATAK (built on the                                       detection device; a
                             control components of a
    Android operating                                        receiver for receiving
                              vehicle, send signals to                                 a receiver for receiving
system) provides a single                                     signals from the cell
                             control components of a                                  signals, data or messages
interface for viewing and                                  phone detection device;
                              building, or… detect at                                     from at least one of
   controlling different
                              least one of a chemical                                  plurality product groups
      CBRN-sensing
                             biological… agent such                                   based on the categories of
       technologies
                             that the communication                                    a multi-sensor detection
                                device is capable of                                  device, a maritime cargo
                                 communicating,                                         container, a cell phone
                               monitoring, detecting,                                    detection device, or a
                                  and controlling.                                          locking device;




Google Nest × Yale Lock
                                                                                             whereupon the
 is connected to the Nest
                                                                                      communication device, is
   app; you can lock or
                                                                                          interconnected to a
  unlock your door from
                                                                                          product equipped to
       your phone.
                                                                                        receive signals from or
                                                                                        send signals to lock or
Android Team Awareness
                                        X                             X               unlock doors, activate or
 Kit, ATAK (built on the
                                                                                           deactivate security
    Android operating
                                                                                          systems, activate or
system) provides a single
                                                                                       deactivate multi-sensor
interface for viewing and
                                                                                       detection systems, or to
   controlling different
                                                                                      activate or deactivate cell
      CBRN-sensing
                                                                                       phone detection systems
       technologies




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 Android Team Awareness
                                                                                      wherein at least one
  Kit, ATAK (built on the
                                                                                      satellite connection,
     Android operating
                                                                                    Bluetooth connection,
    system) is a digital
                                                                                  WiFi connection, internet
  application available to
                                                                                        connection, radio
  warfighters throughout
                                                         a transmitter for               frequency (RF)
  the DoD. ATAK offers
                                                    transmitting signals and          connection, cellular
   warfighters geospatial
                                                    messages to a cell phone        connection, broadband
  mapping for situational
                                     X                  detection device; a       connection… short range
 awareness during combat
                                                      receiver for receiving         radio frequency (RF)
 — on an end-user device
                                                       signals from the cell       connection is capable of
 such as a smartphone or a
                                                    phone detection device;         signal communication
   tablet. With DTRA’s
                                                                                   with the transmitter and
 contribution, ATAK now
                                                                                       the receiver of the
     includes chemical,
                                                                                    communication device
  biological, radiological,
                                                                                    and transceivers of the
   and nuclear (CBRN)
                                                                                            products;
          plug-ins.


 Android Team Awareness
 Kit, ATAK (built on the
                                                     whereupon a signal sent
 Android operating
                                                    to the receiver of the cell
 system) is a digital
                                                     phone detection device
 application available to
                                                     from at least one of the
 warfighters throughout
                                                       chemical sensor, the
 the DoD. ATAK offers
                                                      biological sensor, the
 warfighters geospatial
                                                      explosive sensor, the
 mapping for situational
                                     X                  human sensor, the                    X
 awareness during combat
                                                    contraband sensor, or the
 — on an end-user device
                                                       radiological sensor,
 such as a smartphone or a
                                                       causes a signal that
 tablet. With DTRA’s
                                                     includes at least one of
 contribution, ATAK now
                                                     location data or sensor
 includes chemical,
                                                    data to be sent to the cell
 biological, radiological,
                                                              phone.
 and nuclear (CBRN)
 plug-ins.



        Plaintiff’s motion to strike should be granted because “it appears to a certainty that
Plaintiff will succeed despite any state of the facts which could be proved in support of the
defense and are derivable from the pleadings.” Operating Engineers, 783 F.3d at 1050
(quoting Williams v. Jader Fuel Co., 944 F.2d 1388, 1400 (7th Cir. 1991)).
        Further, Plaintiff’s motion to strike should be granted because “it is clear that the
affirmative defense [of the Government] is irrelevant and frivolous and its removal from the case
would avoid wasting unnecessary time and money litigating the invalid defense.” SEC v. Gulf &
Western Indust., 502 F. Supp. 343, 345 (D.D.C. 1980).

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                                INSUFFICIENT DEFENSE

       Federal Rule of Civil Procedure 12(f) allows this Court to “strike from a pleading an
insufficient defense or a redundant, immaterial, impertinent or scandalous matter.” Delta
Consulting Grp., Inc. v. R. Randle Constr. Inc., 554 F.3d 1133, 1141 (7th Cir. 2009).
       Striking insufficient defenses are proper, because courts “must not tolerate shotgun
pleading of affirmative defenses and should strike vague and ambiguous defenses which do not
respond to any particular count, allegation or legal basis of a complaint.” Tsavaris v. Pfizer, Inc.,
310 F.R.D. 678, 682 (S.D. Fla. 2015).
       Motions to dismiss are defense pleadings and, therefore, subject to all pleading
requirements under the Federal Rules of Civil Procedure, including that they must set forth a
short and plain statement of the defense, and they must give the opposing party “fair notice of the
nature” of the defense. Fed. R. Civ. P., Rule 8(a); Fleet Bus. Credit Corp. v. Nat’l City Leasing
Corp., 191 F.R.D. 568, 570 (N.D. Ill. 1999).
       A court may strike defenses that are “insufficient on the face of the pleadings,” that fail”
as a matter of law,” or that are “legally insufficient.” Heller Fin., Inc. v. Midwhey Powder Co.,
883 F.2d 1286, 1294 (7thCir 1989). Accordingly, when an affirmative defense is without merit,
conclusory, improperly pled, devoid of any factual allegations, and inadequate as a matter of law,
it should be stricken.

Attached as Exhibit A is a list of Congress members; Engineers; Scientist; Gov’t Agency(s)
representatives; Judges; and others skilled in the art to verify Plaintiff’s intellectual property
subject matter is not “Frivolous”.

                                                       Sincerely,

                                                       s/ Larry Golden
                                                       Larry Golden, Pro Se Plaintiff
                                                       740 Woodruff Rd., #1102
                                                       Greenville, SC 29607
                                                       (H) 8642885605
                                                       Email: atpg-tech@charter.net



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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 24th day of July, 2023, a true
and correct copy of the foregoing “Plaintiff’s Motion to Strike”, was served upon
the following Defendant by priority “express” mail and via email:


                                 Grant D. Johnson
                                   Trial Attorney
                          Commercial Litigation Branch
                                   Civil Division
                               Department of Justice
                              Washington, DC 20530
                           Grant.D.Johnson@usdoj.gov
                                  (202) 305-2513




                                       s/ Larry Golden
                                       Larry Golden, Pro Se
                                       740 Woodruff Rd., #1102
                                       Greenville, South Carolina 29607
                                       atpg-tech@charter.net
                                       864-288-5605




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                           Exhibit A




Exhibit A consist of Congress members; Engineers; Scientist;
Gov’t Agency(s) representatives; Judges; and others skilled in
the art to verify Plaintiff’s intellectual property subject matter
is not “Frivolous”.




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MOTIVE FOR THE “GOVERNMENT” THE UNITED STATES TO TAKE
  GOLDEN’S PROPERTY FOR USE WITH THE PUBLIC WITHOUT
             PAYING “JUST COMPENSATION”

       The Government the United States was very interested in implementing Golden’s
“targeted economic stimulus packages” (i.e., the “SafeRack” package; the “V-Tection” package;
and the “ATPG” package).
       The strategy for stimulating the economy under the “SafeRack” initiative, involves
government spending for research and development; funding by way of awards and grants; and
the development for the government certain devices and products for the detection of chemical,
biological, radiological, nuclear, and explosives (CBRNE) compounds and agents.
       The government was tasked with creating the demand for the CBRNE devices and
systems. The demand sparks competition between the third-party contractors competing for the
contracts to manufacture the devices, products, and systems “for the government”. Through
cooperative agreements the government can quickly get the devices, products, and systems
commercialized.
       The strategy for stimulating the economy under the “V-Tection” initiative, involved
targeting the transportation industry. Golden’s remote stall, stop, and vehicle slow-down system;
and Golden’s pre-programmed stall, stop, and vehicle slow-down system is targeted toward
changing the course of transportation vehicles to that of driverless, self-drive, and autonomous
vehicles.
       The government was interested in Golden’s technology for stalling, stopping, and
slowing down vehicles because the driverless, self-drive, and autonomous vehicles can be
equipped with the CBRNE devices, products, and systems and used by the military.
       To satisfy the demand requirement and “use” of the technology developed under the “V-
Tection” initiative, the government bailed out General Motors, Ford, and Chrysler. The “bailout”
funds provided the original engineering manufacturers (OEMs) with tens of billions of dollars to
make the gradual transition without going under.
       The strategy for stimulating the economy under the Anti-Terrorism Product Grouping
“ATPG” initiative is to group new, improved upon, and useful inventions/products by common



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features of design similarities (i.e., cell phones, laptops, tablets, PCs, [smartphone], etc.) that’s
capable of communicating, monitoring, detecting, and controlling (CMDC).
        The ATPG grouping strategy included integrating the devices, products, and systems,
developed and commercialized under the “SafeRack” and “V-Tection” initiatives.
        The Government satisfied the demand strategy of the “SafeRack” initiative when the
Department of Homeland Security (DHS) issued DHS/S&T BAA07-10 CELL-ALL Ubiquitous
Biological and Chemical Sensing request for proposals on 10/30/2007, “[f]or example, if
biological and chemical sensors could be effectively integrated into common cell phone devices
and made available to the American public on a voluntary basis, the Nation could potentially
benefit from a sensor network with more than 240M sensors.”
        “[e]nrolling members of the public could be seen as an entrepreneurial move on the part
        of DHS to exploit existing public resources, in the form of people with smartphones, to
        meet its narrowly defined public-safety objectives; as a Qualcomm representative argued:
        ‘Let’s take advantage of the 300 million cell phones that are out there today. They’re
        always with us.’’’ Hoffman, D., 2011. Qualcomm Project Presentation. Cell-All Live
        Demonstration for Environmental Sensing (Webcast), September 28.
        <http://cellall.webcaston.tv/ home/homepage.php> (accessed 17.09.12)

        The Government satisfied the demand strategy of the “V-Tection” initiative when the
Department of Homeland Security, under the DHS/S&T BAA07-10 CELL-ALL Ubiquitous
Biological and Chemical Sensing initiative, “secured Cooperative Research and Development
Agreements with four primary cell phone manufacturers—Qualcomm, LG, Apple, and
Samsung—with the objective of accelerating the ‘commercialization of technology developed
for government purposes’” (U.S. Department of Homeland Security, 2008).
        Smartphones are being integrated into every piece of technology and autonomous
vehicles are the new big thing. Smartphones are already being connected to regular cars with
Bluetooth and AUX cords. Smartphones are expected to securely connect to driverless cars, as it
is the most crucial factor. Here are some features that the integration between smartphones and
driverless technology can offer that are already featured with standard vehicles:
    •   smartphones will be able to connect to autonomous vehicles from remote locations;
    •   the users will be able to use various apps to control the systems inside of their cars;


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   •   drivers will be able to remotely lock and unlock their vehicles using a smartphone app;
   •   drivers will be able to find their vehicles in crowded parking lots;
   •   autonomous vehicle owners will be able to drive their vehicles with their smartphones;
   •   drivers will be able to slow down much faster with technology that has a much faster
       reaction time, and can even brake harder.

       The Department of Homeland Security (DHS) and the Department of Justice (DOJ)
realized they needed to discredit Golden’s “targeted economic stimulus packages” (i.e., the
“SafeRack” package; the “V-Tection” package; and the “ATPG” package) and invalidate the
patented inventions of Golden to avoid liability for taking Golden’s property for the benefit of
the public, under the Fifth Amendment Clause of the U.S. Constitution, without paying just
compensation.
       Therefore, the DHS and DOJ, who are not “persons” authorized to petition the Patent
Trials and Appeals Board (PTAB); was motivated to petition the PTAB in 2014 with the
unqualified patent references of Astrin, Breed, and Mostov, eighteen publications, and an
Expert’s Declaration in support of the unqualified patents and publications references.

Members of Congress who Verified the Intellectual Property Subject Matter of Golden’s
Patents and Inventions are NOT Frivolous

       As a result of the 9/11 attacks, between the years 2003-2005, Golden submitted three (3)
Economic Stimulus and Terrorism Prevention Packages, that included strategies for stimulating
our economy as a whole and the African-American community, to at least that of President Bush,
VP Cheney, and S.C. Senators Holland, DeMint, and Graham.
       President Bush, VP Cheney, and S.C. Senators Holland, DeMint, and Graham sent the
nonfrivolous “Economic Stimulus and Terrorism Prevention Packages”, that included schematics
for CBRNE detection devices (the “SafeRack” package); the schematics for a new, improved
upon, and useful cell phone, PC, tablet, laptop, etc. (the “ATPG” package); and the schematics
for a remote stop, stall, and vehicle slow-down system, and pre-programmed stopping, stalling,
and slowing down of a vehicle (the “V-Tection” package), over to the Department of Homeland
Security (DHS) for development and implementation.
       Golden’s evidence is the response letters Golden received from the offices of President
Bush, VP Cheney, and S.C. Senators Holland, DeMint, and Graham.

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       The question here is, why would the leaders of our Nation send “frivolous” information
over to the Department of Homeland Security (DHS) for implementation?

Government Agencies who Verified the Intellectual Property Subject Matter of Golden’s
Patents and Inventions are NOT Frivolous

       The United States Patent and Trademark Office (USPTO) has verified through
examination the validity of eleven (11) patents issued to Golden that covers the intellectual
property subject matter of Golden’s inventions. 35 U.S. Code § 282(a) states In General. “A
patent shall be presumed valid. Each claim of a patent (… independent, dependent, or multiple
dependent …) shall be presumed valid independently of the validity of other claims”. See, e.g.,
Universal Marion Corp. v. Warner & Swasey Co., 354 F.2d 541, 544 (10th Cir. 1965) (“[A] party
asserting invalidity on the ground of anticipation in the prior art, or for any other reason, has the
burden of establishing such invalidity by clear and convincing evidence.”).
       Therefore, each and every time the Courts dismiss any of Golden’s cases as “frivolous”,
without the Defendants’ having first presented their patent(s) invalidity contentions on a “clear
and convincing evidence” standard; without a Markman Hearing and claim construction; and
without a trial by jury as guaranteed by the Seventh Amendment of the United States
Constitution is a complete violation of Golden’s procedural due process. Procedural due process
limits the federal courts’ power by requiring certain procedures to be followed in civil matters.
       The question here is, why would the Courts dismiss Golden’s patents as “frivolous”,
given that the Fifth Amendment of the United States Constitution says to the federal government
that no one shall be “deprived of life, liberty or property without due process of law.”
       Golden traveled to Colorado in 2006 for the Government Agencies (DoD, DOE, DHS,
etc.) SBIR Tour. Golden meet with, and left behind copies of Golden’s stimulus packages with
Lisa Sabolewski, DHS SBIR Program Manager, who in turn asked Golden to send the
information to her via email. (E-mail correspondence available).
       Golden responded to an RFI in 2007 to the DHS/S&T Safe Container (SafeCon)
Initiative, and discussed the intellectual property subject matter of Golden’s inventions with DHS
Margo Graves; margaret.graves@hq.dhs.gov, 202-379-8727. (E-mail correspondence available).
       Golden traveled to Washington, DC in 2008 with his lead engineer [Harold Kimball] to
discuss a “read-ahead” of Golden’s intellectual property and the possibility of Golden incubating


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his company at the Department of Homeland Security (DHS). Golden and Mr. Kimball meet
with Ed Turner, DHS/S&T Program Manager.
       Golden submitted a proposal in 2007, in response to the DHS S&T Cell-All Ubiquitous
Biological and Chemical Sensing request for proposals, and upon request, resubmitted Golden’s
intellectual property directly to the Stephen Dennis, DHS Program Manager for the Cell-All
Ubiquitous Biological and Chemical Sensing initiative in 2008. (E-mail correspondence
available).
       Team Collaboration Agreement with Dr. Thomas G. Thundat who is a Corporate Fellow
and the Leader of the Nanoscale Science and Devices Group at the Oak Ridge National
Laboratory. He is also a Research Professor at the University of Tennessee, Knoxville, and a
Visiting Professor at the University of Burgundy, France. He received his Ph.D. degree in
physics from State University of New York at Albany in 1987. He is the author of over 220
publications in refereed journals, 45 book chapters, and 25 patents. Dr. Thundat’s research is
currently focused on novel physical, chemical, and biological detection using micro- and nano-
mechanical sensors. His expertise includes physics and chemistry of interfaces, solid-liquid
interface, biophysics, scanning probes, nanoscale phenomena, and quantum confined atoms.
Golden was invited to spend the day with Dr. Thundat in 2006 to discuss his work.
       Team Collaboration Agreement with Dr. Chris R. Taitt; Research Biochemist; Center for
Bio/Molecular Science & Engineering, Naval Research Laboratory (NRL). Dr. Taitt and his
team has developed an array biosensor for the rapid simultaneous analysis of multiple analytes in
multiple samples. Applications include: Infectious disease diagnostics, Biological warfare
defense, Food & beverage safety, Agriculture/veterinary testing, and Environmental monitoring.
       Team Collaboration Agreement with Dr. Augustus Way Fountain III; U.S. Army
Edgewood Chemical Biological Center is an Academy Professor in the Department of Chemistry
and Life Science at the US Military Academy. He is a graduate of Stetson University and
received the M.S. and Ph.D. degrees in analytical chemistry from Florida State University.
       Golden was invited by DHS to Sacramento, CA in 2008 to attend a T.R.U.ST Industry
Day Symposium. Golden discussed and left copies of his intellectual property subject matter
with a selected panel. Golden was walked out by the Program Manager Dave Masters, where he
promised Golden, he will release a Request for Proposal in the near future that aligns with
Golden’s intellectual property technological rational.

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  DHS/S&T “TRUST” INDUSTRY DAY                  DHS/S&T “TRUST” COVERED AREAS


        DHS Science & Technology Directorate

                     TRUST

                Industry Day Workshop
                  Sacramento, CA.
                December 11-12, 2008




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     DHS/S&T “TRUST” (BAA) 09-17                DHS/S&T “TRUST” PROGRAM GOALS

                                                         The Time Recorded Ubiquitous Sensor
  U. S. Department of Homeland Security         Technologies (TRUST) Project was initiated by DHS-
                                                S&T to solicit innovative solutions to detect and
     Science & Technology Directorate           provide an alert to the presence of WMD…
                                                         DHS and several other agencies have
                                                identified the need to detect and identify weapons of
                                                mass destruction (WMD) …
                                                         Agency components such as Customs and
                                                Border Protection (CBP), United States Coast Guard
                                                (USCG), Transportation Security Administration
                                                (TSA), and others share a mission to secure our
                                                borders and transportation systems, from a devastating
                                                attack using WMD materials. Included with this BAA
                                                are study excerpts of environmental, threat, and
                                                signature studies performed by Massachusetts Institute
                                                of Technology (MIT)-Lincoln Laboratory (LL).
                                                         The system should detect: Weapons of Mass
                                                Destruction (WMD). Chemical Agents as defined by
      Broad Agency Announcement                 Center for Disease Control (CDC). Biological Agents
              (BAA) 09-17                       as defined by Center for Disease Control (CDC) as
                                                Category A bioterrorism agents-diseases. Radiological
    “Time Recorded Ubiquitous Sensor            and Nuclear Materials. Explosives (TNT, RDX,
        Technologies” (TRUST)                   HMX, and PETN based). Human Stowaways by
                                                chemical detection means.



       The Naval Air Systems Command (NAVAIR) provides materiel support for aircraft and
airborne weapon systems for the United States Navy. It is one of the Echelon II Navy systems

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commands (SYSCOM), and was established in 1966 as the successor to the Navy's Bureau of
Naval Weapons.
       NAVAIR issued the NAVAIR 4.5 Counter Networks & Illicit Trafficking (CNIT) Program
Office (4.5CNIT) Program and Operations Support on 25 January 2011. Examples of mission
requirements include, but are not limited to: Development of electronic tracking devices;
Analytical software; Airborne sensors; Ground Sensors; UAV modifications; Inspection systems;
Unattended ground sensors; Foliage penetrating radar; Persistent surveillance; Fast boat
detection; and Communication systems
       SAIC’s Jim Williford, VP Business Development - Global Preparedness, Science &
Recovery Science Applications International Corporation (SAIC) and Mary E. John, Sr.
Subcontracts Administrator for SAIC entered into a subcontractor’s agreement with Golden’s
Anti-Terrorism Product Grouping (ATPG) Technology, LLC to respond to the NAVAIR CNIT
solicitation and provide technology for the development of a Cell phone and communications
sensor detection and lock disabling system. Golden expressed an interest in entering into a
licensing agreement with SAIC.
       SAIC is a FORTUNE 500(R) scientific, engineering, and technology applications
company that uses its deep domain knowledge to solve problems of vital importance to the
nation and the world, in national security, energy and the environment, critical infrastructure, and
health. The company's approximately 45,000 employees serve customers in the U.S. Department
of Defense, the intelligence community, the U.S. Department of Homeland Security, other U.S.
Government civil agencies and selected commercial markets. Headquartered in McLean, Va.,
SAIC had annual revenues of $10.8 billion for its fiscal year ended January 31, 2010. For more
information, visit www.saic.com. SAIC: From Science to Solutions(R)


Private Entities who Verified the Intellectual Property Subject Matter of Golden’s Patents
and Inventions are NOT Frivolous by Commercializing Allegedly Infringing Products
       Golden first contacted GM/OnStar during the summer months of 2007 to ask them to
participate in a Department of Homeland Security solicitation: (BAA07-02A). Golden’s primary
contact at GM/OnStar was Mr. Jim Culbertson. Golden asked GM/OnStar if they had the
capabilities of bringing a moving vehicle to a stall or stop. Their response was, “I need time to
find out if we have the capabilities and if there is interest from upper management”.


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       Golden never heard back from GM/OnStar, but noticed they made an announcement on
October 9, 2007 of a new, “Stolen vehicle slow down” that is being offered by GM/OnStar
beginning in the following year on their 2009 models. Golden called Mr. Jim Culbertson on
March 27, 2008 at 11:20 a.m. at 313-665-2791. Mr. Culbertson referred Golden to Angie Miller
at 313-665-1485. When Golden dialed Ms. Miller’s number, the answering machine for a
Michelle came on.
       General Motors Corporation is the assignee of a patent (8239076) that was filed on
March 31, 2008; application number 12/059893. The patent’s title is; “VEHICLE SLOWDOWN
CONTROL VIA SHORT RANGE WIRELESS COMMUNICATION”.
       On April 14, 2008, I faxed a letter to the General Motors Corporation, to the attention of
Mr. G. Richard Wagoner, Jr., Chairman & CEO and to several members of the General Motors
leadership team, to include, Mr. Frederick A. Henderson, President and Chief Operating Officer,
Mr. Ray G. Young, Executive Vice President and Chief Financial Officer, and Mr. Robert S.
Osborn, Group Vice President and General Counsel.
       In responding to the DHS solicitation BAA07-02A, I asked GM/OnStar if they were
capable of developing the following technology:
   •   a system for slowing, stalling or stopping a moving vehicle through the use of a
       handheld, cell phone, smart phone, PDA, laptop, desktop, or some other fixed, mobile or
       portable means.
   •   a system for slowing, stalling or stopping any and all vehicles, truck, trains, airplanes,
       ships or vessels.
   •   a system for slowing, stalling or stopping a moving vehicle and locking the vehicle doors,
       thereby locking any unauthorized user inside the vehicle.
   •   a system for slowing, stalling or stopping a moving vehicle and locking the vehicle doors,
       thereby locking any unauthorized user inside the vehicle through the use of long- or
       short-range communication, Bluetooth, cellular and/or satellite, handheld, cell phone,
       smart phone, PDA, laptop, desktop or some other fixed mobile or portable device.


       Golden’s correspondence with Apple was sent on 11/19/2010: Golden’s notice letters and
licensing offer was mailed U.S. Postal Service, Certified Mail to Mr. Tim Cook, Chief Operating
Officer (COO) of Apple, and Mr. Bruce Sewell, SVP & General Counsel; to 1 Infinite Loop,

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Cupertino, CA 95014. Apple received and signed for the letters 11/16/2010. Tracking Nos: 7009
2250 0001 0170 9861 and 7009 2250 0001 0170 9854.
       In Golden’s notice letters; Golden is quoted as saying “[m]y technology covers electronic
devices, mobile devices, authentication (biometrics) technology; mobile devices lock and unlock
features, RFID reader technology for mobile devices, embedded sensors in electronic devices,
embedded sensors in mobile and portable devices, mobile phones as readers, embedded sensors
in cell phone cases; mobile, electronic and portable devices used as monitoring equipment for
locating, tracking, navigating and status of sensors.”
       On 07/01/2019, Golden responded back to Apple’s Krista Grewal, Counsel IP
Transactions, on Golden’s “Cease and Desist” request. Golden is quoted as saying: “Certain
Apple Inc.’s smartphones, laptops, tablets, and smartwatches are infringing at least one patent
claim of Golden’s following patents: [7,385,497]; [7,636,033]; [8,106,752]; [8,334,761];
[8,531,280]; [RE43,891]; [RE43,990]; [9,096,189]; [9,589,439]; and, [10,163,287].
               “Certainly, I appreciate the comment you made in defense of Apple’s infringing
       activities in your last correspondence via email dated June 27, 2019: ‘As an example, no
       Apple product includes detectors or indicator lights for detecting ‘at least one of
       chemical, biological, radiological, or explosive’ agents and compounds as required by the
       asserted patents.”
               “To address your comments above. Apple’s smartphones; Apple’s smartwatches;
       or Apple’s smartphones interconnected to Apple’s smartwatches; all, infringes at least
       one patent claim for a CMDC device(s) of the PO’s patents listed above for chemical,
       biological, radiological, or explosive” agents and compounds.”
               “Apple has applied for patents for its smartphones and smartwatches that covers
       chemical and biological detection; biometric fingerprint and signature; motion sensors;
       and, the detection of humans. I expect Apple to submit to the USPTO an IDS to disclose
       my patents as prior art references for continued prosecution”.


       Golden’s correspondence with Qualcomm. “On November 4, 2010, Golden emailed Kate
Lane, Strategic IP, Qualcomm Incorporated (E-mail: clane@qualcomm.com); Direct: (858-658-
2047)), to inform Ms. Lane of certain patented technology (i.e., CMDC—Smartphone—device;
central processing unit (CPU); and, a Stall, Stop, and Vehicle Slowdown System for manned and

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unmanned electric, autonomous, and driverless vehicles). Golden asked if Qualcomm would be
interested in entering into a licensing agreement with the Golden. Subject: “Patented Technology
for Qualcomm’s Review (copy available upon request).
        Golden mailed out letters dated December 7, 2010 addressed to the attention of
Qualcomm’s Chairman & CEO Dr. Paul E. Jacobs and Qualcomm’s EVP & President Derek
Aberle, (copies of the letters and return receipts are available upon request) informing the
Executives of the Golden’s patented technology and asked if they would be interested in entering
into a licensing agreement with Golden.
        After 10 months, Ms. Lane responded back via e-mail on September 29, 2011 with, “Hi
Larry, I’m just checking in to see if this portfolio is still available for purchase. Please let me
know. Thank you, Kate”.
        On October 5, 2011, Ms. Lane responded via e-mail, “Thanks Larry, [c]an you please
take a few moments to fill out the attached Patent Information Request form for this? Please let
me know if you have any questions. Best regards, Kate” (copy available upon request).
        On October 11, 2011, the Golden returned via e-mail, the answered Patent Information
Request form to Ms. Lane. Golden made several attempts to contact Ms. Lane via e-mail and by
phone after that, but never heard back from Ms. Lane.
        Golden’s correspondence with Intel. Intel was knowledgeable of Golden’s
communicating, monitoring, detecting, and controlling (CMDC) devices, CPUs and detection
systems dating back to 12/2010: On 12/16/2010: Golden’s notice letters and licensing offer was
mailed U.S. Postal Service, Certified Mail to Mr. Paul S. Otellini, President & CEO Intel, and
Mr. Curt J. Nichols, VP Intel Capital Intel, at Mission College Blvd., Santa Clara, CA 95054-
1549. Intel received and signed for the letters 12/20/2010. Phone: 408-765-8080. Tracking Nos:
7010 1870 0002 0193 0360 and 7010 1870 0002 0193 0377.
        Golden’s correspondence with L-3 Communications was sent to the attention of Curtis
Brunson; EVP, Corporate Strategy and Development on November 12, 2010. “Dear Sir: Below
is a copy of an e-mail I sent Patricia R. Krall, a Vice President with L-3 Communications on
October 30, 2010. I talked with, and e-mailed Ms. Krall in January, 2007 a brief description of
technology I had at that time patent pending that covered multiple sensing for CBRNE being
transported inside maritime cargo containers. I asked Ms. Krall if L-3 would consider
collaborating with me in responding to a DHS solicitation requesting the technology.”

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        To: Patricia Krall, L-3 Communications. “Thanks for allowing me the opportunity to
present technology that is beneficial for projects being researched and developed within the
Divisions of L-3 Communications Security and Detection Systems, L-3 Communications
Unmanned Systems, and L-3 Services, Inc. Please inform me if I need to also submit this
proposal directly to L-3 Communications Legal or Patent Department. Ms. Krall, we had an
opportunity to exchange e-mails in January, February of 2007 discussing cargo container
security technology I had patent pending at the time.

When compared to Google, Two Federal Circuit Judges Nominated by President Obama
(Taranto and Stoll) Verified the Intellectual Property Subject Matter of Golden’s Patents
and Inventions are NOT Frivolous

        The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
— “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back to the
District Court “to be filed and request service of process”.
        The Federal Circuit determined the complaint, “includes a detailed claim chart mapping
features of an accused product, the Google Pixel 5 Smartphone, to independent claims from U.S.
Patent Nos. 10,163,287, 9,589,439, and 9,069,189” … “in a relatively straightforward manner”
… and that the [Circuit] “express no opinion as to the adequacy of the complaint or claim chart
except that it is not facially frivolous.”
        “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
        product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
        10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
        limitations to infringing product features, and it does so in a relatively straightforward
        manner …[W]e conclude that the district court’s decision in the Google case is not
        correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
        has made efforts to identify exactly how the accused products meet the limitations of his
        claims in this chart.…”

Team Collaboration Agreements with “People Skilled in the Art” who Verified the
Intellectual Property Subject Matter of Golden’s Patents and Inventions are NOT
Frivolous

        Dr. Thomas J. Bonazza, Ph.D. Candidate Mechanical Engineering, West Virginia
University 1992-Present; M.S., Electrical Engineering, Johns Hopkins University, 1991; B.S.,

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Electrical Engineering, West Virginia University, 1986. Currently employed with Electronic
Warfare Association, (EWA).
       Dr. Lonnie Johnson, (Inventor). Dr. Johnson holds a B.S. degree in Mechanical
Engineering, an M.S. degree in Nuclear Engineering, and an honorary Ph.D. in Science from
Tuskegee University. Upon graduation, he worked as a research engineer at Oak Ridge National
Laboratory, and then joined the U. S. Air Force, serving as Acting Chief of the Space Nuclear
Power Safety Section at the Air Force Weapons Laboratory in Albuquerque, New Mexico.
Currently CEO & President of Johnson R&D.
       Dr. Santosh Pandey, Ph.D. Electrical Engineering, Lehigh University (2006), MS,
Electrical Engineering, Lehigh University (2001), BTech, Electrical Engineering, Indian Institute
of Technology, Kharagpur (1999), Research Interests: Bioelectronics, sensors, bioMEMS,
devices, VLSI circuits, Core Area: Advanced electronics and materials, Strategic Plan Area:
Bioengineering. Assistant Professor: Department of Electrical and Computer Engineering, Iowa
State University.
       Harold P. Kimball Jr. Enabling Technologies, Inc. (ETI), President Software Functional
Manager / Senior Software Developer Support Systems Associates, Inc. (SSAI), Warner Robins,
Georgia. Education: Bachelor of Science in Computer Science, 1990, Mercer University, Macon,
Georgia. Associate of Science in Computer Science, 1987, Macon College, Macon, Georgia.
Technical Skills: Machines: PCs, SUN, VAX, Alpha. Operating Environments: UNIX, VMS,
MS-DOS, Novell Netware, Windows 95 & NT Software: Sybase, ORACLE, Advantage, FoxPro,
Microsoft Word, TBBS bulletin board. Languages: Delphi, SQL, Ada, C, Assembly, Pascal,
FoxPro, Pro*C, PL/SQL. Experience and Accomplishments: Manager / Lead Developer for the
Digital Mapping Interface System (DMIS); Manager / Lead Developer for the AC-130H Gunship
Part Task Trainer (pIT); Lead Developer for re-engineered Linux based APG-150 Control Unit,
AC-130H Gunship; Designed and coded software (desktop and web) for the C-141 Parts
Application Program Indenture (API); Designed and coded a Delphi application to manage the
AC-130H Gunship’s Electrical Load Analysis (ELA) database; Designed and coded software for
the Integrated Database. Designed and coded Delph applications to monitor, save and decode
ML-STD-1553 messages; Designed and coded a Delphi application to track drawings and the
fabrication of assemblies for the C-(4) test bench.



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       Doug Erwin Cumbie. Enabling Technologies, Inc. (ETI); Computer & Electrical
Engineer. Education: BS, Electrical Engineering, University of West Florida, 2007; BS,
Computer Engineering, University of Central Florida, 2001. Job-Related Skills: C# (MS Visual
Studio 200312005 - desktop and mobile devices). DOS, Windows 9812000IXP, Unix. Embedded
systems. Independent Projects: Handheld Wireless GPS Tracking Device: Designed and
developed with one team member for undergraduate electrical engineering senior design course.
The device consisted of a GPS module, microcontroller, LCD display, and a long-range wireless
transceiver integrated into a battery powered, portable handheld unit. UAV Ground Station:
Developed a ground control system for communicating with a remote unmanned aerial vehicle.
Project was developed for the ECAAT UAV team of the University of West Florida. The software
application utilizes a wireless link to provide a real-time display of the UAV’s present position
and onboard system information on a laptop computer. Experience and Accomplishments:
Developed version 3.0 to 5.0 of the Digital Mapping Interface System for Gunships (DMISG)
moving map software for AC-130H and AC-130U model gunships; Assisted in the development
of a moving map software application for a Pocket PC handheld device.
       Dr. Gilbert E. Pacey, Ph.D. (IDCAST) CBRNE Coordinator for the University of
Dayton Research Institute (UDRI) Institute for the Development and Commercialization of
Advanced Sensor Technology (IDCAST). Professor, Director; Miami University Center for
Nanotechnology, Department of Chemistry and Biochemistry, Miami University, Oxford, Ohio
45056. Telephone: 513-529-2875 e-mail paceyge@muohio.edu. Dr. Pacey has 30 years’
experience managing research projects at MU and the last 5 directing all MU research and
external funding, intellectual property, and compliance issues. He is currently the CBRNE
Sensors Coordinator for the Institute for the Development of Advanced Sensor Technology,
IDCAST, which is a $28 million Ohio Third Frontier Wright Center for Innovation focused on
sensor development. He is currently funding in THz spectroscopy and imaging (NIH) and
CBRNE sensing (million Ohio Research Scholar). He has a career funding record (fund just for
his group) exceeding ten million dollars.
       Dr. Guru Subramanyam, Ph.D. (IDCAST) Professor, Electrical & Computer
Engineering, University of Dayton Phone: 937-229-3188; Fax: 937-229-4529, E-mail:
Guru.Subramanyam@ notes.udayton.edu. Education: PhD in Electrical Engineering, University
of Cincinnati, 1993; MS in Electrical Engineering, University of Cincinnati, 1988; BE in

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Electrical & Electronics Engineering, University of Madras, 1984, (First Class). Funding: Recent
Research on voltage tunable dielectrics and biopolymers: Has been a Principal Investigator (PI)
in several funded projects with AFRL, AFOSR, DARPA, NASA, NSF, and Ohio Board of
Regents Research Challenge Grants. Total funding as a PI exceeds $1,500,000 to date. Thin film
barium strontium titanate (BST) varactor technology developed by Professor Subramanyam has
been licensed by a company (Inventis Corp) resulting in a new start-up Analog Bridge Inc.
       Dr. Wolfgang U. Spendel, Ph.D. (IDCAST) Research Scientist IDCAST/Miami
University Center for Nanotechnology, Department of Chemistry and Biochemistry, Miami
University, Oxford, Ohio 45056. Telephone: 513-529-8081 e-mail spendewu@muohio.edu.
Education: Ph.D. Physical Chemistry, Pennsylvania State University, State College PA, 1978; BS
Chemistry, Grand Valley State College, Allendale, MI, 1974; Electronics Design Associates
Degree, Cleveland Institute of Electronics, 1994. Work Experience: United States Marine Corps,
1966 – 1970.
       Dr. William H. Steinecker, Ph.D. (IDCAST) IDCAST Research Scholar. Department of
Chemistry and Biochemistry, Miami University, Oxford, Ohio 45056. Telephone: 937-285-4814,
Fax: 513-529-5715, e-mail steinewh@muohio.edu. Education and Training: Miami University,
BS 2001; University of Michigan, MS 2003; University of Michigan, Ph.D. 2006. Publications:
   •   Kaanta, B.C.; Chen, H.; Lambertus, G.R.; Steinecker, W.H.; Zhdaneev, O.; Zhang, X.
       “High Sensitivity Micro-Thermal Conductivity Detector for Gas Chromatography,”
       Proceedings of IEEE MEMS ’09, 2009, page numbers not yet available.
   •   Zhong, Q.; Steinecker, W.H.; Zellers, E.T. “Characterization of a High-Performance
       Portable GC with a Chemiresistor Array Detector.” The Analyst, 2009, 134(2), 283-293.
   •   Kim, H.; Steinecker, W.H.; Lambertus, G.R.; Astle, A.A.; Najafi, K.; Zellers, E.T.;
       Washabaugh, P.D.; Bernal, L.P.; Wise, K.D. “Micropump-Driven High-Speed MEMS
       Gas Chromatography System.” Proceedings of Transducers ‘07, 2007, 1505-1508.
   •   Zhong, Q.; Veeneman, R.A.; Steinecker, W.H.; Jia, C.; Batterman, S.A.; Zellers, E.T.
       “Rapid Determination of ETS Markers with a Prototype Field-Portable GC Employing a
       Microsensor Array Detector.” J. Environmental Monitoring, 2007, 9(5), 440-448.

       The question here is, why the Trial Court Judge(s) chose not to rely on the opinions and
testimony of those who are experts or skilled in the art before dismissing a case as frivolous (i.e.,


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of little importance; trivial; lacking in seriousness; clearly insufficient on its face; not deserving
serious attention; wasteful; useless; totally and completely without merit; fantastical; fanciful;
unbelievable; irrational; incredible; delusional; or, lacks an arguable basis either in law or fact)?
        As it stands right now the Trial Court(s) have been unashamedly wrong about the features
and specifications of Golden’s patented inventions. The Trial Courts’ biggest fear is having to
litigate who actually invented the “smartphone”, knowing it will change the course of history for
the World to know it was a “Black Man” who invented the smartphone. It’s easier to dismiss the
case as “frivolous”.
        Golden, an African-American Inventor, has twenty-seven (27) independent patent claims,
and twenty (20) dependent patent claims for a Communicating, Monitoring, Detecting, and
Controlling (CMDC) device (i.e., a smartphone, or a new, improved upon, and useful cell
phone).
        But, without seeking the opinions of experts or people skilled in the art, the NDC Judge
in Golden v. Samsung dismissed Golden’s case as having been found “frivolous” before, and that
Samsung own the rights to certain functionalities
        “Even if preclusion did not apply – and it does – this case must be dismissed for failure to
        plausibly allege infringement. Golden asserts that his “Multi Sensor Detection, Stall to
        Stop and Lock Disabling System” patents were infringed by: (i) “CPU’s Samsung uses
        with its Smartphones”; (ii) Samsung’s use of Global Position System (GPS) and web
        browsers; (iii) Samsung’s use of camera lenses; (iv) Samsung’s use of biometric data to
        unlock phones; and (v) Samsung’s use of remote unlocking technology. See generally
        Complaint ¶ 61 & pgs. 19-26; see also id. pgs. 27-31. The allegations that his patents
        cover the identified functionalities included in Samsung’s products are wholly
        unsupported and implausible on their face.” Case 3:23-cv-00048-WHO Document 36
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        Every element the NDC Court described as being “the identified functionalities included
in Samsung’s products”, are illustrated below in Golden’s independent claim 23 of Golden’s ‘439
patent. Plaintiff’s new, improve upon, and/or useful cell phone has a priority disclosure date at
the USPTO of November 17, 2004:




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A cell phone comprising:
       a central processing unit (CPU) for executing and carrying out the instructions of
a computer program;
       a transmitter for transmitting signals and messages to a cell phone detection
device; a receiver for receiving signals from the cell phone detection device;
       at least one of a satellite connection, Bluetooth connection, WiFi connection,
internet connection, radio frequency (RF) connection, cellular connection, broadband
connection, long range radio frequency (RF) connection, short range radio frequency
(RF) connection, or GPS connection;
       the cell phone is at least a fixed, portable or mobile communication device
interconnected to the cell phone detection device, capable of wired or wireless
communication therebetween; and
       whereupon the cell phone is interconnected to the cell phone detection device to
receive signals or send signals to lock or unlock doors, to activate or deactivate security
systems, to activate or deactivate multi-sensor detection systems, or to activate or
deactivate the cell phone detection device;
       at least one of a chemical sensor, a biological sensor, an explosive sensor, a
human sensor, a contraband sensor, or a radiological sensor capable of being disposed
within, on, upon or adjacent the cell phone; [camera lens used for CBRNE detection]
       wherein at least one of the satellite connection, Bluetooth connection, WiFi
connection, internet connection, radio frequency (RF) connection, cellular connection,
broadband connection, long range radio frequency (RF) connection, short range radio
frequency (RF) connection, or GPS connection is capable of signal communication with
the transmitter or the receiver;
       wherein the cell phone is equipped with a biometric lock disabler that
incorporates at least one of a fingerprint recognition, voice recognition, face
recognition, hand geometry, retina scan, iris scan, or signature such that the cell phone is
locked by the biometric lock disabler to prevent unauthorized use; and
       whereupon a signal sent to the receiver of the cell phone detection device from at
least one of the chemical sensor, the biological sensor, the explosive sensor, the human
sensor, the contraband sensor, or the radiological sensor, causes a signal that includes at

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       least one of location data or sensor data to be sent to the cell phone.

       Samsung’s i550 mobile phone was released to Reuters on October 17, 2007. Samsung
Electronics Co Ltd said its Samsung’s first-ever phone incorporating a Global Positioning
System (GPS). In 2010 Samsung released its first phone with fingerprint biometric technology,
the Galaxy Note4. First released in June 2010, the Samsung Galaxy S ran on a 5-megapixel (MP)
rear camera. A year later the Galaxy S2 featured 2 megapixels in the front and 8 megapixels in
the rear [megapixel cameras are used for CBRNE detection.
       The NDC Court “denied” Golden’s motion for reconsideration. The NDC Court knew the
statements were false, and yet, spoke with a “reckless disregard for the truth”. [malicious intent].




                                                      Sincerely,



                                                      s/ Larry Golden
                                                      Larry Golden, Pro Se Plaintiff
                                                      740 Woodruff Rd., #1102
                                                      Greenville, SC 29607
                                                      (H) 8642885605
                                                      Email: atpg-tech@charter.net




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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 24th day of July, 2023, a true
and correct copy of the foregoing “Plaintiff’s Exhibit A”, was served upon the
following Defendant by priority “express” mail and via email:


                                 Grant D. Johnson
                                   Trial Attorney
                          Commercial Litigation Branch
                                   Civil Division
                               Department of Justice
                              Washington, DC 20530
                           Grant.D.Johnson@usdoj.gov
                                  (202) 305-2513




                                       s/ Larry Golden
                                       Larry Golden, Pro Se
                                       740 Woodruff Rd., #1102
                                       Greenville, South Carolina 29607
                                       atpg-tech@charter.net
                                       864-288-5605




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